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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   801 "I" Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorneys for Defendant
     JASON KEITH WALKER
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES,                     )
                                        )     No. 2:03-cr-00042 MCE-JFM
12                     Plaintiff,       )
                                        )     REQUEST FOR SUBSTITUTION OF COUNSEL;
13               v.                     )     ORDER
                                        )
14   JASON KEITH WALKER,                )
                                        )
15                     Defendant.       )
                                        )
16                                      )
17        Petitioner, JASON KEITH WALKER, hereby moves this Court for an order
18   substituting Carolyn Phillips, Attorney at Law, P.O. Box 5622, Fresno, CA,
19   93755, telephone (559) 248-9833; as counsel for the Defendant in the above-
20   entitled case. The Federal Defender’s Office has determined that it is
21   currently unable to continue its representation of Defendant. Ms. Phillips
22   has agreed to represent the Defendant.
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
              Case 2:03-cr-00042-MCE-EFB Document 1163 Filed 02/01/13 Page 2 of 2


 1         Ms. Phillips is aware of any deadlines in this case.            The undersigned
 2   is authorized to sign this substitution motion on her behalf.
 3   Dated:     December 19, 2012
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7                                             /s/ David M. Porter
                                               DAVID M. PORTER
 8                                             Assistant Federal Defender
 9                                             Attorneys for Defendant
                                               JASON KEITH WALKER
10
11
12   Dated:     December 19, 2012              /s/ Carolyn Phillips
                                               CAROLYN PHILLIPS
13
14
15                                          O R D E R
16         Pursuant to this Motion for Substitution of Counsel and for the reasons
17   stated therein, IT IS HEREBY ORDERED that Carolyn Phillips, Attorney at Law,
18   shall be substituted in as appointed counsel for Defendant in place of the
19   Office of the Federal Defender for the Eastern District of California.
20   Dated: January 31, 2013.
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